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                                          U.S. Department of Justice

                                                    United States Attorney
                                                    Southern District of New York
                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007


                                                    October 30, 2020

BY ECF

The Honorable Jesse M. Furman
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:     United States v. Michael Avenatti, 19 Cr. 374 (JMF)

Dear Judge Furman:

       The Government respectfully submits this letter on behalf of the parties pursuant to the
Court’s Order issued on October 30, 2020 (Dkt. No. 96).

        The parties request that the conference presently scheduled for November 10, 2020,
at 10:00 a.m., be held remotely. The defendant consents to doing so. In light of the restrictions
on the defendant’s use of the internet imposed by the United States District Court for the Central
District of California, the defendant is able to participate only by telephone.

                                                    Respectfully submitted,

                                                    AUDREY STRAUSS
                                                    Acting United States Attorney


                                             By:
                                                    Matthew D. Podolsky
                                                    Robert B. Sobelman
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cc:    Robert M. Baum, Esq. (by ECF)
       Andrew J. Dalack, Esq. (by ECF)
       Tamara L. Giwa, Esq. (by ECF)
